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              EXHIBIT K
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                                                                                       PUBLIC


                           UNITED STATES OF AMERICA
                      BEFORE THE FEDERAL TRADE COMMISSION

COMMISSIONERS:               Lina M. Khan, Chair
                             Rebecca Kelly Slaughter
                             Alvaro M. Bedoya


 In the Matter of

 FACEBOOK, INC.,
   a corporation.
                                                       Docket No. C-4365

                    Respondent.




       ORDER FURTHER EXTENDING TIME FOR RESPONDENT’S ANSWER

        On November 29, 2023, Facebook (now known as Meta Platforms, Inc. (“Meta”)) filed a
complaint in the United States District Court for the District of Columbia raising constitutional
arguments about this administrative proceeding and seeking to preliminarily and permanently
enjoin the action. Meta Platforms, Inc. v. FTC, Case No. 1:23-cv-3562-RDM (D.D.C Nov. 29,
2023). The Commission opposed Meta’s motion for a preliminary injunction and moved to
dismiss Meta’s complaint. The court has scheduled a hearing on the motion for January 29, 2024.

        Respondent’s Answer to the Commission’s Order to Show Cause in this proceeding is
due on January 31, 2024. Commission Rule of Practice 4.3(b) provides that the Commission
may extend for good cause shown any time limit prescribed by its rules or orders. 16 C.F.R. §
4.3(b). We find that under the circumstances presented, there is good cause to extend the
deadline for Respondent’s Answer until March 15, 2024.

       Accordingly,

     IT IS HEREBY ORDERED THAT Respondent’s Answer, if any, to the
Commission’s Order to Show Cause shall be due on March 15, 2024.




By the Commission.
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                                   April J. Tabor
                                   Secretary




SEAL:
ISSUED: 1/9/2024
